10/24/23, 11:39 AM Case 4:23-cv-04065      Document
                               Houston’s feuding           1-17 planning
                                                 Pride organizations Filed on  10/25/23
                                                                           two separate     inforTXSD
                                                                                        events    June 2024Page   1 of
                                                                                                            – Houston   3 Media
                                                                                                                      Public




 Houston’s feuding Pride organizations planning two separate events
 for June 2024
 Tensions already are bubbling between Pride Houston 365, the longtime organizer of Houston’s annual Pride parade and festival, and a new
 organization called New Faces of Pride Houston that is planning its own events next year.

 ADAM ZUVANICH | OCTOBER 23, 2023, 3:25 PM (LAST UPDATED: OCTOBER 23, 2023, 4:07 PM)


 Share




                                                                                                                                      Rob Salinas/Houston Public Media

               Marchers in the 2023 Pride Parade organized by Pride Houston 365.


 There was no Pride festival in Houston this June, like there had been in previous summers.

 Next summer the city could play host to two festivals and parades celebrating its LGBTQ+ community — scheduled one week apart.

 Call them dueling Pride events being organized by feuding nonprofits, who are competing for the same group of prospective attendees, the same corporate sponsors and,
 perhaps ultimately, their own livelihoods.

 A downtown Pride parade and festival is being planned for June 22 by New Faces of Pride Houston, which formed this July and includes people previously associated
 with Pride Houston 365, the organization that began hosting an annual Pride parade 45 years ago. That organization's 2024 parade and festival is scheduled for June 29, also
 downtown and with the same parade route.

 "You could look at it as competing," said Bryan Cotton, the founder and president of New Faces of Pride Houston. "If they actually have their event next summer, people will
 have the choice of which to go to. Many people, nonprofits and companies have never had a choice of which (Pride) organization to work with. They felt they had to work with
 one particular group. Now they have a choice."

 Cotton said he and fellow board member Jill Maxwell, a former board member for Pride Houston, led the launch of the new group because of turmoil associated with Pride
 Houston. That organization scrapped last year's Pride festival after the 2022 event was marred by high heat and capacity issues, and for the last two years has been embroiled
 in a lawsuit against former executive director Lorin Roberts, whom Pride Houston accused of fraud, embezzlement and breach of fiduciary duty, among other claims.

 One of the other defendants in that lawsuit, former Pride Houston staff member Dustin Sheffield, now works for New Faces of Pride Houston, according to Cotton. He said one
 of the advisory board members for the new group is Lori Hood, a Houston attorney who is presenting a local marketing agency, Mad Hat Maven, in a separate lawsuit filed in

                                                                                                                                                         Exhibit 16
 May that accuses Pride Houston of breaching a contract between the two entities.



https://www.houstonpublicmedia.org/articles/lgbtq/2023/10/23/467532/houston-pride-2024-two-events-feuding-organizations/#:~:text=A downtown Pri…                                1/3
10/24/23, 11:39 AM Case 4:23-cv-04065      Document
                               Houston’s feuding           1-17 planning
                                                 Pride organizations Filed on  10/25/23
                                                                           two separate     inforTXSD
                                                                                        events    June 2024Page   2 of
                                                                                                            – Houston   3 Media
                                                                                                                      Public
 There are other connections between the two local Pride organizations, according to Cotton and Pride Houston president Kendra Walker, who accuses New Faces of Pride
 Houston of tapping into its experience and resources and trying to piggyback off its historical success as well as its name recognition. Walker said Pride Houston sent a cease-
 and-desist letter to New Faces of Pride Houston, alleging that its logo and use of the phrase "Pride Houston" in its name amount to trademark infringement.

 Walker added that Pride Houston is "considering all legal options available to us."




                                                                                                                                          Rob Salinas/Houston Public Media

               Marchers in the 2023 Houston Pride Parade.


 "As you can see, the new faces are pretty much the old faces that were affiliated with Pride (Houston)," Walker said. "While we certainly welcome them, we wish them success,
 we don't wish you success with our trademarks."

 Cotton acknowledged receiving the cease-and-desist letter but denied that New Faces of Pride Houston is infringing on the trademarks of Pride Houston, calling them "very
 vague trademarks."

 "Our lawyer has already spoken to their lawyer, letting them know we have every intention to challenge it," Cotton added. "We will do so in court if necessary. They will lose in
 court if they have the intention of pursuing it that far."

 Cotton also acknowledged that New Faces of Pride Houston is benefitting from the experience and City Hall connections of Sheffield and some of its other staffers and leaders
 who previously were tied to Pride Houston. The longer-tenured organization has typically drawn hundreds of thousands of people to its parade and festival.

 Walker questioned the ethics involved with a new organization using the blueprint of a similar, competing group. She also said some of Pride Houston's existing sponsors have
 been contacted by New Faces of Pride Houston, which she said has created confusion in the community.

 Pride Houston is generally supportive of other Pride organizations and Pride events, Walker said.

 "I don't want people to think this is bad blood or anything," she said. "At the end of the day, people have the option to move on."

 When asked if the two local Pride organizations and their events could coexist over the long term, Cotton said he thinks one of them will eventually be phased out while adding,
 "I imagine New Faces of Pride will be here for a very long time." Still, he said his organization is not aiming to snuff out the other.

 "This was definitely done to give the community a Pride organization that is truly diverse and transparent and one that the community can be proud of once again," Cotton said.
 "Because it's been a long time since the community has felt good about Pride in this city."

 The Montrose Center, a local nonprofit that describes itself as the "cultural hub of Houston's LGBTQ community," is so far staying on the sidelines in the dispute between Pride
 Houston and New Faces of Pride Houston. A spokesperson for the Montrose Center said it is "staying neutral" and will not partner with either organization, or any others, as it
 relates to their 2024 events.




                                                                                                                                                             Exhibit 16
https://www.houstonpublicmedia.org/articles/lgbtq/2023/10/23/467532/houston-pride-2024-two-events-feuding-organizations/#:~:text=A downtown Pri…                                     2/3
10/24/23, 11:39 AM Case 4:23-cv-04065      Document
                               Houston’s feuding           1-17 planning
                                                 Pride organizations Filed on  10/25/23
                                                                           two separate     inforTXSD
                                                                                        events    June 2024Page   3 of
                                                                                                            – Houston   3 Media
                                                                                                                      Public
 "We are aware that there are several organizations across the Houston area, some established and some new, who are planning Pride events," the Montrose Center said in
 a statement last Friday. "We wish them well. We remain committed to empowering all LGBTQ individuals to live healthier, more fulfilling lives."




                                                                                                                                                   Exhibit 16
https://www.houstonpublicmedia.org/articles/lgbtq/2023/10/23/467532/houston-pride-2024-two-events-feuding-organizations/#:~:text=A downtown Pri…                          3/3
